      Case 3:16-md-02741-VC           Document 20817         Filed 07/15/25      Page 1 of 1




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER GRANTING MONSANTO'S
                                                    MOTIONS FOR SUMMARY
   Kennedy v. Monsanto Co.,                         JUDGEMENT
   Case No. 3:24-cv-01622-VC
                                                    Re: Dkt. Nos. 20742, 20743
   Johnson v. Monsanto Co.,
   Case No. 3:19-cv-04017-VC


       Monsanto has filed motions for summary judgement in the above-captioned cased

because plaintiffs have failed to produce an expert for specific causation. Plaintiffs have not

submitted a response, and the opposition deadline has passed. Accordingly, the motions are

granted.

       Judgement is entered in Monsanto’s favor.

       IT IS SO ORDERED.

Dated: July 15, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
